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- UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

OLIVIA PARROTT,
Plainuff, Civil Action No: 21-02930 (RCL)
V.

GOVERNMENT OF THE DISTRICT OF
COLUMBIA,

Defendant.

 

 

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Plaintiffs motion for a stay is hereby granted and plaintiff’s deadline under LCvR 23.1(b) to
file their motion for class action treatment is stayed until the date of the Rule 16 scheduling
conference.

Cyc. ott. hy/y

HON. ROYCE C, LAMBERTH
United States District Court Judge
